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                                EXHIBITK
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                                               D\I\IIELS
    Andrea Roberts Pierson                                                                    Faegre Baker Danlels LLP
    Partner                                                                      300 North Meridian street- Suite 2700
                                                                                     Indìanapolls v Indiana 46204-1750
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                                                                                                   Fax +1 317 237 1000



    Match 17, 2017

    VIA E-MAIL AND FIRST-CLASS MAIL

     Joseph Johnson                                      Michael Gallagher
     BABBIT & JOHNSON                                    The Gallagher Law Firm
     1641 Worthington Road, Suite 100                    2905 Sackett Street
     West Palm Beach, FL 33402                           Houston, Texas 77098

     Ben C. Martin                                       Michael Heaviside
     Law Office of Ben C. Martin                         Heaviside Reed Zaic
     3710 Rawlins Street, Suite 1230                     910 I i11 Street, NW, Suite 800
     Dallas, Texas 75219                                 Washington, DC 20006

    Re:        ln Re: Cook Medical, Inc., Il/C'Fiùers Marketing, Sales Practices and Products Liability
               Litigation, MDL No. 2570
               Case No. 1 :14-cv-06016-RLY-TAB
               Case No. 1:14-cv-01875-RLY-TAB

    Dear Counsel:
    Pursuant to the Amended Case Management Order #19 (Amended Bellwether Trial Plan), dated
    January 4, 2017, this letter shall serve as formal notice of our intention to schedule the IMEs of
    Plaintiffs Elizabeth Hill and Arthur Gage. We will provide a draft protocol and the date, time,
    and location of the IMEs in the near future.

     Very truly yours.

       . ~~ (), Y:4¾~' (/l-1/~         I
     Andrea Roberts Pierson

     ARP:cms
     cc:  David P. Matthews (via email)




     US.110625662.02
      Case 1:14-ml-02570-RLY-TAB Document 4925-11 Filed 05/31/17 Page 3 of 8 PageID #:
                                         11623

Pierson, Andrea Roberts

From:                                    Rutigliano, Anna C.
Sent:                                    Thursday, March 30, 2017 4:32 PM
To:                                      Joe Johnson; bmartin@bencmartin.com; dmatthews@thematthewslawfirm.com; Michael
                                         Heaviside; jwilliams@rwp-law.com
Cc:                                      Cox, Jessica Benson; Pierson, Andrea Roberts; Denise Codding; Kim Aguilera; Schlafer,
                                         John T.
Subject:                                 Cook/Hill -- IME Protocol & Notice
Attachments:                             Cook Filter - Protocol for Independent Medical Examination (3).docx; 2017-03-30 Letter
                                         to J. Johnson re E. Hill_s IMEs.pdf



Counsel,

Please see attached for correspondence from Andrea Pierson regarding Ms. Hill's IME, and a proposed protocol for
IM Es. Please let us know if you have any objections to the proposed protocol by Monday, April 3, 2017.

Thank you,

Anna C. Rutigliano
Associate
Admitted to Practice in Indiana
anna.rutigliano@FaegreBD.com Download vCard
D: +1317 2371191 I M: +1317 709 0396 I F: +1317 237 1000


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300 N. Meridian Street I Suite 2700 I Indianapolis, IN 46204, USA

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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION




  In Re: COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                                  Case No. 1 :14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                                                      MDL No. 2570


  THIS DOCUMENT RELATES TO: ALL CASES


                    PROTOCOL FOR INDEPENDENT MEDICAL EXAMINATION

           Pursuant to Fed. R. Civ. P. 35, and Amended Case Management Order #19, Defendants

  Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated), and William Cook

  Europe ApS ( collectively "Cook"), and the bellwether plaintiffs in this MDL ("Plaintiffs"), have

  agreed on the following protocol for the independent medical examination of Plaintiffs ("IME"),

  as those Plaintiffs have put their physical condition at issue in the lawsuits filed against Cook.

  The Court finds that good cause exists to order such examinations and ORDERS as follows:

           l.        Cook's Request for an IME

           Pursuant to Amended Case Management Order #19, ~ 4, Cook must request an IME by

  the provided date ("Request Date").

           2.        Plaintiffs' Past Medical Examinations

           Plaintiffs shall produce copies of any final reports or memoranda from any prior medical

  examinations conducted by non-treating (examining) physicians of any of the Plaintiffs in the

  course of this litigation no later than 14 days from the Request Date, if that information has not

  otherwise been produced in the litigation.




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           3.       Cook's Medical Examinations of Plaintiffs

           Plaintiffs' medical examinations shall be completed at least ten days prior to Cook's

  expert disclosure deadline. Cook shall produce copies of any final reports or memoranda from

  the non-treating ( examining) physicians from any such examinations within fourteen days of the

  production of expert reports. Supplemental depositions of Cook's medical examiners will occur

  before the close of expert discovery.

           4.       Protocol for Cook's Medical Examinations

           Cook shall provide Plaintiffs with proposed dates, times, locations, and scope of

  examinations no later than fourteen days from the Request Date. Thereafter, the parties shall

  meet and confer to arrange for dates and times that are mutually acceptable to the parties.

           The protocol for the IMEs shall be as follows:

                    (a)    Cook is entitled to two IMEs of each Plaintiff by licensed health care

                           professionals ("Health Care Professionals") in an appropriate office and/or

                           examination room;

                    (b)    The Health Care Professionals are entitled to ask any questions of the

                           Plaintiffs that relate to prior medical histories, personal or family histories

                           and any other conversation or investigation that the Health Care

                           Professionals would normally engage in during their examinations;

                    ( c)   The Health Care Professionals are entitled to conduct examinations of the

                           Plaintiffs related to their general health, cardiovascular system,

                           gastrointestinal system, psychiatric state, etc.;

                    (d)    No representative of Cook shall be present at the IMEs; however, the

                           Plaintiffs may bring one non-lawyer representative with them to the IMEs,

                           and may be present before, during, and after the examinations; and

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                    (e)   The parties shall bear their own costs for conducting the IMEs. Cook shall

                          bear the cost of retaining the Health Care Professionals. Plaintiffs shall

                          bear the cost of the travel expenses incurred in attending the IMEs.

          IT IS SO ORDERED.

  Dated: -- - - - -
                                                 Tim A. Baker
                                                 United States Magistrate Judge
                                                 Southern District of Indiana


  Copies to all registered counsel of record via the Court's ECF system.
  All non-registered counsel of record will be served by Plaintiffs' Lead Counsel.




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                                                                                            Fax +1317 237 1000



 March 30, 2017

 VIA EMAIL AND FIRST-CLASS MAIL

 Joseph Johnson
 BABBIT & JOHNSON
 1641 Worthington Road, Suite 100
 West Palm Beach, FL 33402
 Email: jjohnson@babbitt..johnson.com
 Re:       Elizabeth Hill v. Cook. Inc., et al.
           Case No. l:14-cv-06016-.,RLY-TAB

 Dear Mr. Johnson:

 To follow up on our letter from March 17, 2017, we are providing Ms. Hill with notice of two
 independent medical examinations ("IME"). The first IME will be conducted in New York to assess her
 cardiovascular health. During this IME, the physician may perform the following:

       •   Physical examination
       •   Intravascular ultrasound
       •   IVC venogram
       •   Lower extremity venous Doppler ultrasound

 The second IME will be conducted in North Carolina to assess her gastrointestinal health. During this
 IME, the physician may perform the following:

       •   Physical examination
       •   Draw labs - CBC, CMP, CRP, ESR
       •   Extended upper endoscopy
       •   Abdominal CT
       •   Upper GI series
       •   Nuclear medicine gastric emptying study

Please be advised that the IMEs will be conducted pursuant to the Protocol for Independent Medical
Examination. Exact times and locations will be provided as soon as possible.



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Joseph Johnson                        -2-                          March 30, 2017
BABBIT & JOHNSON



Very truly yours,

                         I
Andrea Roberts Pierson

ARP:acr

Enclosures




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